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                      UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

                                                          )
BLACK EMERGENCY RESPONSE TEAM,                            )
  et al.                                                  )
         Plaintiffs,                                      )
                                                          )
v.                                                        )      Case No. 5:21-cv-1022-G
                                                          )
JOHN O’CONNOR, in his official capacity                   )      Hon. Charles B. Goodwin
As Oklahoma Attorney General, et al.,                     )
                                                          )
           Defendants.                                    )
_________________________________________                 )

     PLAINTIFFS’ MOTION FOR LEAVE TO FILE EXHIBIT UNDER SEAL

       Plaintiffs Black Emergency Response Team (BERT), et al., respectfully request

leave, pursuant to Fed. R. Civ. P. 5.2(d) and Western District of Oklahoma Local Rule

12.2, to file under seal Exhibit A to their Reply to Defendants’ Response to Plaintiffs’

Supplemental Submission in Support of Their Motion for Preliminary Injunction.

       The exhibit that Plaintiffs seek to file under seal contains a link to and login

credentials for the training given to teachers at Tulsa Public Schools that led to the

enforcement action described in Plaintiffs’ Supplemental Submission in Support of Their

Motion for Preliminary Injunction. See Dkt. 83. The login credentials were provided by

Vector Solutions, the third-party vendor that created the training, and were uniquely

created for this Court.




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       Whether documents “should be sealed . . . is a matter left to the sound discretion

of the district court.” Mann v. Boatright, 477 F.3d 1140, 1149 (10th Cir. 2007). The

presumption in favor of public access to judicial documents “may be overcome where

countervailing interests heavily outweigh the public interests in access.” Colony Ins. Co.

v. Burke, 698 F.3d 1222, 1241 (10th Cir. 2012) (internal citation and quotations omitted).

       Vector Solutions has stated to Plaintiffs its objection to publicly filing any copies

or screenshots of slides included in the training that Plaintiffs have in their possession

because of its proprietary interest in the contents of the slides and the training materials.

As such, Plaintiffs obtained a unique login for this Court to obtain virtual access to the

training materials. Plaintiffs request leave to file the exhibit under seal to give the Court

the opportunity to be able to access the Tulsa Public Schools training at issue in full.

       Plaintiffs note that the Court previously granted a similar motion by Defendants

[1-18] seeking leave to file under seal an exhibit containing certain of the slides for the

Tulsa Public Schools training. See Dkts. 88, 89. The exhibit submitted by Defendants did

not include all of the slides comprising the training. The exhibit that Plaintiffs seek to

file under seal with this motion would provide the Court access to all the slides as well as

the accompanying audio portion for the training.




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Dated: September 14, 2022                   Respectfully submitted,

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                                            Counsel for Plaintiffs




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                            CERTIFICATE OF SERVICE

      I hereby certify that on September 14, 2022, I electronically filed the foregoing

Plaintiffs’ Motion to For Leave to File Supplemental Papers with the Clerk of Court via

the Court’s CM/ECF system, which effects service upon all counsel of record.


                                              Respectfully submitted,

                                              /s/ Megan Lambert
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